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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                     Orlando Division

                                 CASE NO. 6:20-cv-00276-WWB-EJK

WILLIAM RYAN,
Individually and on behalf of
all others similarly situated,

               Plaintiff,
v.

ALLSTATE FIRE & CASUALTY
INSURANCE COMPANY,

            Defendant.
_______________________________/


             JOINT MOTION FOR AGREED REMAND TO STATE COURT

       Defendant, ALLSTATE FIRE & CASUALTY INSURANCE CO. (“Allstate Fire” or

“Defendant”), and Plaintiff, WILLIAM RYAN (“Ryan” or “Plaintiff”) (collectively, the

“Parties”), file this Joint Motion for Agreed Remand to State Court, and state as follows:

       1.      There is currently pending Plaintiff’s Motion to Remand [D.E. 13]. Defendant has

opposed this motion.

       2.      The parties have consulted and have reached a compromise agreement to the entry

of an order remanding this matter to state court, without prejudice to Defendant’s contention that

this matter was properly removed to this Court and that there was a factual basis for such removal

based on the amount-in-controversy.
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          WHEREFORE, the Parties jointly move this Court for the entry of an Order remanding

this matter to state court, along with such other relief as this Court deems necessary, just, and

proper.1


Respectfully submitted,


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    Company                                          Counsel for Plaintiff




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  On April 2, 2020, this Court entered an order [D.E. 17] extending the time for Plaintiff’s response
to Defendant’s Motion to Dismiss and Compel Appraisal [D.E. 12] and for Defendant’s response
to Plaintiff’s Motion to Remand [D.E. 13] to May 4, 2020. The instant motion would render those
deadlines moot. In the event the instant motion cannot be acted upon prior to May 4, the Parties
request an additional extension of those deadlines until the Court is able to act on the instant
motion.

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 28th day of April, 2020, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

document is being served this day on all counsel of record identified on the attached Service List

in the manner specified, either via transmission of Notices of Electronic Filing generated by

CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

to electronically receive Notices of Electronic Filing.


                                         /s/ Alexandra J. Schultz, Esq.
                                              Alexandra J. Schultz, Esq.


SERVICE LIST

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